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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA               )
                                       )
      v.                               )       CRIMINAL NO. 21-CR-642(JDB)
                                       )
DARRELL NEELY                          )



UNOPPOSED MOTION FOR CHANGE IN TIME FOR HEARING FEBRUARY
                         9, 2023

      NOW COMES the defendant, Darrell Neely, by and through

counsel, Kira Anne West and moves this Honorable Court to grant defendant’s

unopposed motion to change the time of the status hearing scheduled for February

9, 2023 and states the following in support:

   1. This case is set for trial before this Honorable Court on May 22, 2023.

   2. This Court set an in person status hearing for this case on December 8, 2022.

      See minute order. Since that time, undersigned counsel has made non-

      refundable plane reservations for February 9, 2023, and must be at Dulles

      airport by 4:45 pm. Undersigned counsel is afraid she will be cutting it close

      if the hearing remains at 3 pm and therefore asks the Court if the hearing can

      take place earlier in the day. Undersigned counsel hopes this request does

      not inconvenience the Court in any way.

   3. Undersigned counsel conferred with AUSA McFarlane who does not oppose

      the request in this motion.

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      WHEREFORE, the defendant requests that this Court reset the hearing for

an earlier time during the day on February 9, 2023.

                                        Respectfully Submitted,

                                            /s/
                                        Kira Anne West
                                        DC Bar No. 993523
                                        712 H. Street N.E., Unit 509
                                        Washington, D.C. 20002
                                        (202)-236-2042
                                        kiraannewest@gmail.com
                                        Attorney for Mr. Neely




                                Certificate of Service

I certify that a copy of the forgoing was filed electronically for all parties of record
                           on this 1st day of February, 2023.
                                  ____/s/__________
                                    Kira Anne West
                                Attorney for Mr. Neely




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